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                                                                                November 14, 2022
U.S. District Court Judge William M. Conley
Western District of Wisconsin
120 North Henry Street
Madison, WI 53703

Re: Case No. 21-cv-00096-wmc & Case No. 21-cv-00306-wmc (cons.)
    National Wildlife Refuge Association, et al. v. Rural Utilities Service, et al.
    (Currently on Appeal to the U.S. Court of Appeals for the Seventh Circuit, No. 22-1347)

Dear Judge Conley:

As a courtesy and for the convenience of the District Court, Plaintiffs attach the letter regarding
supplemental authority that was filed on Friday in the Seventh Circuit’s docket on appeal.

Plaintiffs write to bring to the Court’s attention the fact that the Ninth Circuit has granted
rehearing en banc in Friends of Alaska Nat’l Wildlife Refuges v. Haaland, 29 F.4th 432 (9th Cir.
2022), and vacated the panel opinion reversing Friends of Alaska Nat’l Wildlife Refuges v.
Bernhardt, 463 F. Supp. 3d 1011 (D. Alaska 2020), a case which this Court discussed in its
summary judgment opinion.

                                              Sincerely,

                                              /s/ Howard A. Learner
                                              Howard A. Learner
                                              One of the attorneys for Plaintiffs National Wildlife
                                              Refuge Association, Driftless Area Land Conservancy,
                                              Wisconsin Wildlife Federation, and Defenders of
                                              Wildlife
